                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


  GAILAND K. BREDE,                                    )
                                                       )
         Plaintiff,                                    )
                                                       )
  v.                                                   )       No. 3:08-CV-464
                                                       )       (Phillips)
  AMERICAN SECURITY INSURANCE                          )
  COMPANY,                                             )
                                                       )
         Defendant.                                    )


                                 MEMORANDUM AND ORDER

         This matter is before the Court on Defendant’s Motion to Stay [Doc. 14]. Defendant has

  moved to stay all deadlines contained in the Scheduling Order. [Id.]. Trial is currently scheduled

  for October 26, 2010.

         As background, this case was removed to federal court on November 14, 2008 [Doc. 1]. On

  January 9, 2009, Defendant filed its answer to the complaint [Doc. 6]. On June 15, 2009, the Court

  entered a Scheduling Order [Doc. 9]. On January 14, 2010, Defendant filed its amended answer to

  assert a counter-claim [Doc. 14]. Plaintiff has not responded to the counter-claim.

         Since the fall of 2009, counsel for Defendant has been unable to reach counsel for Plaintiff,

  Mr. Anthony M. Avery. In January 2010, defense counsel called the telephone number listed in the

  PACER electronic docketing system, and received a message indicating that the telephone number

  was disconnected. Defense counsel also sent letters to Mr. Avery in January and February 2010,

  but did not receive a response from Mr. Avery. One of the letters sent in February 2010 was

  returned with a note on the envelope stating, “Refused due to deployment to Iraq.” In June 2010,



                                                  1



Case 3:08-cv-00464-TWP-CCS Document 15 Filed 07/28/10 Page 1 of 2 PageID #: 122
  defense counsel learned that Mr. Avery is serving in the Tennessee National Guard 278th Division

  and has been deployed to Iraq. It is unknown when Mr. Avery will return.

         For good cause stated, Defendant’s Motion to Stay [Doc. 14] is GRANTED, whereby all

  proceedings are STAYED UNTIL DECEMBER 1, 2010. Because no discovery has been

  conducted yet, Defendant will not be prejudiced. All pending dates and deadlines, including the trial

  date, are hereby VACATED. Furthermore, the parties are ORDERED to provide a status update

  on December 1, 2010.



         IT IS SO ORDERED.

                                        ENTER:


                                               s/ Thomas W. Phillips
                                             United States District Judge




                                                   2



Case 3:08-cv-00464-TWP-CCS Document 15 Filed 07/28/10 Page 2 of 2 PageID #: 123
